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 8                           UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               CR No. 2:22-cr-00101-SVW

11              Plaintiff,                   I N F O R M A T I O N

12              v.                           [18 U.S.C. § 1343: Wire Fraud; 18
                                             U.S.C. § 981(a)(1)(C); 28 U.S.C.
13   TING HONG YEUNG,                        § 2461(c): Criminal Forfeiture]
14              Defendant.

15

16        The United States Attorney charges:
17                                [18 U.S.C. § 1343]
18   A.   INTRODUCTORY ALLEGATIONS
19        At times relevant to this Information:
20        1.    Defendant TING HONG YEUNG was a resident of Los Angeles
21   County, California.
22        2.    Amazon.com, Inc. (“Amazon”), was a technology company
23   headquartered in Seattle, Washington.       Amazon provided, among other
24   services, an online platform that facilitated retail sales of goods
25   to Amazon customers, either by Amazon itself or by third-party
26   sellers.
27        3.    In order to use Amazon’s online platform, a third-party
28   seller was required to set up an online Amazon seller account.              In
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 1   creating an Amazon seller account, the third-party seller was

 2   required to provide a bank account number and bank routing number for

 3   an associated bank account (the “Associated Account”); credit card

 4   account information; government-issued identification; tax

 5   information; and a phone number.      Approved third-party sellers could

 6   access an online portal called Seller Central, through which the

 7   third-party sellers could manage inventory, communicate with

 8   customers, contact Amazon, and update payment information.

 9        4.    When a customer purchased an item listed on Amazon by a

10   third-party seller, Amazon credited the third party’s Amazon seller

11   account for the amount of that purchase.        Third-party sellers were

12   responsible for providing Amazon with the tracking number for each

13   shipment corresponding to an individual sale.        Roughly every fourteen

14   days, Amazon disbursed funds from sales with a corresponding tracking

15   number from the third party’s Amazon seller account to the Associated

16   Account.

17        5.    When a customer sought to return an item purchased from a

18   third-party seller, the third-party seller was generally responsible

19   for providing return options.      If the third-party seller did not

20   provide a refund (or could not, due to a lack of funds in the

21   seller’s Amazon account), customers could seek a refund directly from

22   Amazon under Amazon’s “A-to-z Guarantee.”        When the Amazon seller’s

23   account held sufficient available funds, Amazon deducted the cost of

24   the refund from that account prior to the next disbursement of funds

25   to the Associated Account.

26        6.    Defendant YEUNG registered or otherwise controlled Amazon

27   seller accounts in the names of “Special SaleS,” “California Red

28   Trading, Inc.,” “Speedy Checkout, Inc.,” “Expeditious Enterprise,

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 1   Inc.,” “LV Consultants, Inc.,” and “Frolax, Inc.” (collectively, the

 2   “YEUNG Seller Accounts”).     The Associated Accounts for the YEUNG

 3   Seller Accounts were all in defendant YEUNG’s name or under his

 4   control.

 5        7.    Amazon customers and third-party sellers could communicate

 6   through Amazon’s Buyer-Seller Messaging Service, which provided wire

 7   communications between buyers and sellers using encrypted email

 8   addresses routed through Amazon.

 9   B.   SCHEME TO DEFRAUD

10        8.    Beginning no later than 2013, and continuing through at
11   least April 30, 2020, in Los Angeles County, within the Central
12   District of California, and elsewhere, defendant YEUNG, knowingly and
13   with the intent to defraud, devised, participated in, and executed a
14   scheme to defraud Amazon as to material matters, and to obtain money
15   and property from Amazon by means of material false and fraudulent
16   pretenses, representations, and promises.
17        9.    The scheme to defraud operated, in substance, as follows:
18              a.   After one of the YEUNG Seller Accounts had been active
19   for some period of time, thereby gaining the appearance of being a
20   reputable vendor, defendant YEUNG caused it to list expensive items,
21   frequently furniture and home décor, at prices significantly lower
22   than the prices listed for comparable items by other sellers.           As
23   defendant YEUNG knew and intended, these discounted prices attracted
24   Amazon customers, driving a rapid increase in sales.
25              b.   After an Amazon customer placed an order for one of
26   the offered items, defendant YEUNG would not ship the item ordered
27   and paid for to the customer.      Instead, defendant YEUNG falsely
28   confirmed that the item had been shipped to the customer by providing
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 1   false shipment tracking information to the customer and to Amazon

 2   that did not correspond to an actual shipment of the purchased item.

 3                c.   When Amazon customers used Amazon’s Buyer-Seller

 4   Messaging Service to inquire about their missing orders, defendant

 5   YEUNG sent lulling responses to the messages to convince customers to

 6   continue waiting for their products instead of complaining to Amazon

 7   or seeking refunds.    By forestalling complaints or demands for

 8   refunds, defendant YEUNG ensured that Amazon would disburse customer

 9   funds into the Associated Accounts controlled by defendant YEUNG.

10                d.   In some instances, instead of shipping customers the

11   products they ordered, defendant YEUNG would cause cheap crystal

12   ornaments to be shipped to the customers, which both generated

13   tracking numbers that induced Amazon to disburse funds to the

14   Associated Accounts and lulled customers into refraining from filing

15   complaints or demanding refunds.

16                e.   In another part of the scheme, defendant YEUNG used

17   credit cards in the names of other persons and fictitious names to

18   purchase products from Amazon that he would use to fulfill orders

19   placed through one of his seller accounts.        After the product was

20   delivered to defendant YEUNG’s customer, defendant YEUNG caused a

21   refund request to be submitted to Amazon, often selecting as the

22   reason that the product was “Different from what was ordered,” which

23   was false.    Instead of returning the originally ordered product

24   (which had been sent to defendant YEUNG’s customer), defendant YEUNG

25   caused a substitute product of lower value, such as damaged goods, to

26   be “returned.”    As a result, defendant YEUNG received both the

27   benefit of the refund as well as the sale proceeds from the original

28   transaction with his customer.

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 1        10.   As a result of the scheme to defraud, defendant YEUNG

 2   caused losses to Amazon of approximately $1,302,954.

 3   C.   USE OF INTERSTATE WIRES

 4        11.   On or about February 18, 2020, within the Central District
 5   of California, and elsewhere, for the purpose of executing the scheme
 6   to defraud described above, defendant YEUNG transmitted and caused
 7   the transmission of a wire communication by means of interstate
 8   commerce, namely, an Amazon Buyer-Seller Messaging Service
 9   communication to a customer stating, “HI        How we are scam? . . . .
10   May I know do you want full refund ?.”
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 1                              FORFEITURE ALLEGATION

 2               [18 U.S.C. § 981(a)(1)(C); 28 U.S.C. § 2461(c)]

 3        12.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of defendant TING HONG YEUNG’s

 8   conviction of the offense set forth in the sole count of this

 9   Information.

10        13.   Defendant YEUNG, if so convicted, shall forfeit to the

11   United States of America the following:

12              a.   All right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to the offenses; and

15              b.   To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18        14.   Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 28, United States Code, Section 2461(c),

20   defendant YEUNG, if so convicted, shall forfeit substitute property,

21   up to the value of the property described in the preceding paragraph

22   if, as the result of any act or omission of defendant YEUNG, the

23   property described in the preceding paragraph or any portion thereof

24   (a) cannot be located upon the exercise of due diligence; (b) has

25   been transferred, sold to, or deposited with a third party; (c) has

26   been placed beyond the jurisdiction of the court; (d) has been

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 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

 3

 4                                         TRACY L. WILKISON
                                           United States Attorney
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 7                                         SCOTT M. GARRINGER
                                           Assistant United States Attorney
 8                                         Chief, Criminal Division
 9                                         RANEE A. KATZENSTEIN
                                           Assistant United States Attorney
10                                         Chief, Major Frauds Section
11                                         ALEXANDER B. SCHWAB
                                           Assistant United States Attorney
12                                         Deputy Chief, Major Frauds Section
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